     Case 5:09-cv-00326-CAR-CHW Document 54 Filed 11/22/11 Page 1 of 2



                   IN THE UNITED STATES DISTRICT COURT 
                   FOR THE MIDDLE DISTRICT OF GEORGIA 
                                 MACON DIVISION 
                            
CHARLES A. PALMER,                      : 
                                        : 
      Plaintiff,                        :     Case No.: 5:09‐cv‐326 (CAR) 
                                        : 
v.                                      : 
                                        : 
OFFICER RICE, et al.,                   : 
                                        : 
      Defendants.                       : 
__________________________________ 
 
            ORDER ON THE UNITED STATES MAGISTRATE JUDGE’S  
                       RECOMMENDATION OF DISMISSAL 
                                             
      Before the Court is the United States Magistrate Judge’s Recommendation [Doc. 

52] to grant Defendants Motion to Dismiss [Doc. 47] for Plaintiff’s failure to prosecute.  

Plaintiff has not filed an objection to the Recommendation.  As set forth by the 

Magistrate Judge in his Recommendation, Plaintiff has failed to keep the Clerk and 

Defendants advised of his current address, despite the Court’s orders instructing 

Plaintiff to do so and warnings that failure to do so may result in the dismissal of his 

pleadings.  Indeed, the record shows that Plaintiff was released from Augusta State 

Medical Prison, his last known address, on February 14, 2011, and Plaintiff has thus 

failed to update the Court or Defendants as to his whereabouts or otherwise provide an 

address which he can be served with pleadings for the past nine months.  Plaintiff has 

had ample notice and opportunity to contact this Court and has been warned that 
       Case 5:09-cv-00326-CAR-CHW Document 54 Filed 11/22/11 Page 2 of 2



failure to do so would result in dismissal of this action.  Accordingly, the 

Recommendation [Doc. 52] is HEREBY ADOPTED AND MADE THE ORDER OF 

THE COURT.  Defendants’ Motion to Dismiss [Doc. 47] is GRANTED, and this case is 

hereby DISMISSED with prejudice for failure to prosecute. 

 

       SO ORDERED, this 22nd day of November, 2011. 

 

                                          S/  C. Ashley Royal  
                                          C. ASHLEY ROYAL 
                                          UNITED STATES DISTRICT JUDGE 
 

 

SSH 
